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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


In Re:                                                        Case No.: 18-17657-AJC
                                                              Chapter        7
Jose Somaza

Debtor.
__________________/

                 AGREED MOTION FOR CONTINUANCE
    OF HEARING FOR MOTION FOR RELIEF FROM AUTOMATIC STAY FOR
        CREDITOR COSTA VERDE HOMEOWNER’S ASSOCIATION, INC.

        Costa Verde Homeowner’s Association, Inc. (“Creditor”) and Ross R Hartog, Chapter 7
trustee of the bankruptcy estate of Jose Somaza (the “Trustee”), through counsel files this
Agreed Motion for Continuance of Hearing for Motion for Relief From Stay for Creditor Costa
Verde Homeowner’s Association, Inc., and in support thereof, states as follows:

   1. The Debtor filed a voluntary petition under Chapter 7 of the U.S. Bankruptcy Code on
         June 26, 2018.
   2. On April 18, 2019, the Creditor filed a Motion for Relief from Automatic Stay for the
         Association property located at 3069 NW 99th PL, Doral, FL 33172. (DE #54)
   3. The Trustee filed a response to the Motion for Relief from Stay for Creditor Costa Verde
         Homeowner’s Association, Inc. on May 2, 2019. (DE #57)
   4. A hearing is set for May 22, 2019 at 10:30 a.m. on the Trustee’s Response to Motion for
         Relief from Stay. (DE #58)
   5. The Trustee is in the process of negotiating a short sale of the subject property and has
         acquired a buyer.
   6.    The Trustee believes that if the short sale is successful then the Creditor’s claim and

         post-petition assessments should be paid in full. The Creditor and the Trustee agree to

         continue the hearing for 30 days to allow the Trustee to finalize and close on the short

         sale.
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        WHEREFORE, the Creditor and the Trustee respectfully requests that this Court grant

this Agreed Motion for Continuance, and the hearing set for May 22, 2019, be continued for 30

days.

                                            Respectfully submitted,

                                            By: /s/ Russell M. Robbins, Esq.
                                            Russell M. Robbins, Esq.
                                            Fla. Bar No.: 484954
                                            Basulto, Robbins & Associates, LLP
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                                            Miami Lakes, Florida 33016
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                                            RRobbins@brlawyers.com



                                   CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the above was filed and
provided by US 1st Class mail to Jose Somaza, 4686 NW 107 Ave., #1310, Doral, FL 33178 and
transmitted via ECF to Robert Sanchez, Esq., Ross R. Hartog, Trustee, John H. Lee, Attorney for
Trustee, and Office of the US Trustee, on this 21st day of May, 2019.

                                                          /s/ Russell M. Robbins, Esq.
                                                          Russell M. Robbins, Esq.
